UNITED STATES DISTRICT COURT
WES'I`ERN DISTRICT OF NORTH CAROLINA
ASHEVILLE DIVISION

TERI LYNN HINKLE
Plaintiff _
Civil N0: 1:18-CV-00007-MR-DLH

VS

EXPERIAN INFORMATION
SOLUTIONS, INC.; TRANS UNION
LLC; EQUIFAX, INC.; EQUIFAX
INFORMATION SERVICES, LLC

Defendants
` TRIAL BY JURY DEMANDED

FIRST AMENDED COMPLAINT FOR VIOLATIONS OF THE FCRA

JURISDICTION
l. This court hasjurisdiction under 15 U.S.C. § 1681p and 28 U.S.C § 1331.
2. All conditions precedent to the bringing of this action have been performed.
PARTIES

3. The Plaintiff in this lawsuit is Teri Lynn Hinkle, a natural person, Who resides in Cherokee
County, North Carolina.

4. Defendant Experian Inforrnation Solutions, Inc. (Experian) along With its subsidiaries,
affiliates and partners operates as a Consumer Reporting Agency regulated by the Fair Credit
Reporting Act, (FCRA) 15 U.S.C. § 1681 et seq. and maintains corporate offices at 475

Anton Blvd., Costa Mesa, CA 92626.

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5. Experian, its subsidiaries and partners sell consumer information and data derived from
consumer information in its consumer file(s) in a number of products and services to
customers such as the debt collection industry offering their “First to Their Wallet” service as
just one example and generates hundreds of millions of dollars in revenue annually. Experian
gathers massive amounts of consumer/information on a daily basis as stated on its Web pagel,
“'Experian’s U.S. /ConsumerVieW marketing database covers over 300 million individuals and
126 million households. With the freshest data compiled from hundreds of public and
proprietary sources, Expei'ian has thousands of powerful data points to help marketers reach
their targeting goals, including demographics, purchasing habits, lifestyles, interests and
attitudes.” Experian markets a product for businesses to target people for financial products
using its financial data solutions stating “Experian’s Financial and Wealth Audiences suite of
solutions can help you accurately target consumers for financial services offerings using
wealth indicator audiences, developed through our exclusive partnership With First
Manhattan Consulting Group (FMCG Direct)”, on that same web page.

6. Defendant Equifax, Inc. (Equifai<) along with its subsidiaries, operates as a Consumer
Reporting Agency (“CRA”) regulated by the Fair Credit Reporting Act, (FCRA) 15 U;S.C‘. §
1681 et seq. With Equifax Inc. corporate offices at 1550 Peachtree Street, Atlanta, GA 30309.

7. EfluifaX, Inc. is the parent of Equifax Information Services, LLC (EIS). In prior litigation it
has taken the position it is not itself a “consumer reporting agency” governed by the FCRA.
See 15 U.S. C. § 1681a(f) (“The term “consumer reporting agency” means any person, who
for monetary fees, dues, or on a cooperative nonprofit basis, regularly engages in Whole or in
partin the practice of assembling or evaluating consumer credit information or other

information on consumers for the purpose of furnishing consumer reports to third parties, and

 

l https://www.experian.com/marketing-sei'vices/targeting/data-dl'iven-marketing.html (last viewed March 9, 2018)

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which uses any means or facility of interstate commerce for the purpose of preparing or
furnishing consumer reports.”)

8. But of course, Equifax, Inc. is a consumer reporting agency. For purposes of the FCRA
Equifax, Inc. has held itself out repeatedly to consumers, regulators and the public generally
as the actual operating entity. The branding, labels and¢disclosures on the Defendants’
consumer website is dominated by “Equifax, Inc.” titlingz. Defendants have held Equifax,
Inc. out as the operating and responsible entity along with EIS which they readily
acknowledge as being a consumer reporting agency.

9. EquifaX, Inc. and its subsidiaries such as EquifaX Information Services LLC (EIS) and
EquifaX Consumer Services, LLC (ECS) operate as alter egos of one another and freely
transfer communications from consumers, as well as consumer information and data based
on consumer information and communications, between the entities for commercial purposes
without restriction and to treat them as separate entities would promote fraud and sanction
injustice

10. Equifax, Inc. and its subsidiaries including EIS operate using the same “Equifax” logo with
no differentiation between entities when interacting with consumers via mail and otherwise

\ By virtue of different subsidiaries and divisions operating without any impediments of
corporate structure using the same logo as EquifaX Inc. an unsophisticated consumer would
not know one EquifaX entity from another.

11. EquifaX, Inc. has used EIS and ECS and other subsidiaries as dependent and integrated
divisions rather than separate legal entities. The business operations are fully coordinated
and shared resources are cross-applied without full and complete profit and cost centers. '

Management decisions at EIS and ECS as Well as other divisions are made by and through

 

2 https://www.equifax.com/personal/ (last viewed March 9, 2018)

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Equifax, Inc. And the entities largely hold themselves out as a single uniform business entity
exchanging and selling consumer information as well as data derived from consumer
information and communications it holds in its consumer files. Its customer base is vast
including state and federal governments generating hundreds of millions if not billions of
dollars in revenue annually.

The FCRA, through a rule mandated at § 1681x expressly prohibits “a consumer reporting
agency from circumventing or evading treatment as a consumer reporting agency” by means
of corporate organization or restructuring

Equifax, Inc.‘ and its subsidiaries _ whether or not they observe'state law corporate
formalities - have eliminated nearly all lines between their different business entities in the
collection, maintenance sharing and furnishing of consumer reporting information Equifax,
Inc. entities such as EIS regularly share FCRA restricted information with sibling ECS to
market and profit from the sale of identity theft products including the blurring of legal lines
between providing file information under the FCRA versus private sale to the consumer. l lt
does so with a number of EquifaX related entities such as lALX Corporation, eThority,
Anakam, Inc. not to mention Equifax Mortgage Services.

To remain separate and distinct for purposes of liability in this action, Defendants Equifax,
Inc. and EquifaX Information Services, LLC must operate as separate and legally as well as
operationally distinct entities. Here for matters alleged and relevant herein, EIS is merely an
alter ego of Equifax, Inc. For purposes of how consumer data was handled, warehoused,
used and sold the corporate lines were disregarded in practice EIS, ECS and other
subsidiaries of Equifax, Inc. are mere instrumentalities for the transaction of the corporate

consumer credit business. Equifax, lnc., EIS, ECS and other subsidiaries share full unity of

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interest such that the separate personalities of the corporation and subsidiaries no longer exist
as they operate as one consumer reporting agency under the FCRA.
Defendant Trans Union, LLC (Trans Union) along with its subsidiaries and affiliates operates
as a Consumer Reporting Agency regulated by the F air Credit Reporting Act, (FCRA) 15
U.S.C. § 1681 et seq. with corporate offices at 555 W. Adams Street Chicago, IL 60661.
Trans Union operates as a single FCRA governed consumer reporting agency. Trans Union,
LLC has structured itself in order to warehouse its sale of credit reporting consumer reports
in one entity and its sale of criminal history, employment, landlord-tenant purposed, etc.
consumer reports in other eiitities. However, it freely transfers data between units and
operates without any impediments of corporate structure ln almost every material regard, the
Trans Union units operate as if they are one and the same, a single consumer reporting
agency.

VENUE
The occurrences which give rise to this action occurred in Cherokee County, North Carolina
and Plaintiff resides in Cherokee County, North Carolina.

Venue is proper in the Western District of 'North Carolina.

GENERAL ALLEGATIONS
Plaintiff wanted to obtain her full consumer file disclosure to obtain all information
recorded and maintained in Defendant’s files and/or databases about her as 15 U.S.C. §
1681g(a)(1) states she is entitled to. Plaintiff looked at the annualcreditreport.com website
which was setup by and is operated by the Defendants but could find no place on that

website where she could request her full consumer file disclosure, but instead only where

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she could request a “credit report” which is NOT what she wanted. Plaintiff then decided to
write to each of the Defendants directly to obtain her full consumer file disclosure

Plaintiff made a written request sent by certified mail for a copy of her full consumer file
disclosure which was received by Experian on September 28, 2017. See EXhibit l attached.
In response to her very specific request for her full consumer file disclosure Plaintiff
received a letter which was not responsive to her request The letter requested further proof
of identity and address in the form of a driver’s license and a current utility bill. This was the
only communication Plaintiff received from Experian. See EXhibit 3 attached.

Plaintiff made a written request sent by certified mail for a copy of her full consumer file
disclosure which was received by Equifax on September 14, 2017 See Exhibit l attached.

ln response to her very specific request for her full consumer file disclosure Plaintiff 7
received a letter dated September 21, 2017, requesting payment and further documentation to

establish identity and address in order to receiver her “Equifax credit file”. See EXhibit 4

' attached. Several days later Plaintiff received a document titled “EQUIFAX-CREDIT FILE”

from Equifax. The document stated Plaintiff’s letter requesting her full consumer file
disclosure Was being treated as a “dispute” and that the contents of the credit file were the
result of the “recent dispute”. The document repeatedly referred to its contents as a “credit
report”. There was no information regarding Plaintiff contained in the document other than
Plaintiff’ s current address under a sub-heading of “THE RESULTS OF OUR
INVESTIGATIO ”. Plaintiff had made no dispute of any information in any report or

document with EquifaX in at least the past four years.

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Plaintiff made a written request sent by certified mail for a copy of her full consumer file

disclosure which was received by Trans Union on September 28, 2017 See Exhibit l

attached.

In response to her very specific request for her full consumer file disclosure Plaintiff

received a letter which was not responsive to her request. See EXhibit 5 attached.

Plaintiff, in making the exact same request of each of the Defendants, specified in great detail

exactly what specific sections of the F air Credit Reporting Act (FCRA) requires each

Defendant to provide a full consumer file disclosure once every 12 months at no charge

when a request is made by a consumer. See Exhibit 1 attached.

Plaintiff s request for a full consumer file disclosure from each Defendant was her first

request for a full consumer file disclosure within 12 months and identification in the form

of legible copies of her social security card and current North Carolina driver’s license were

attached to the requests for identification and location purposes

After receiving a response from each Defendant that did not comply with the request made, l
Plaintiff made a second and final request for a full consumer file disclosure pursuant to the l
FCRA of each Defendant. See EXhibit 2 attached. A copy of the initial letter was sent with \

the second request for clarification along with identification in the form of legible copies of

Plaintiff’s social security card and current North Carolina driver’s license as well as other

documents as requested for identification by Experian and Trans Union.

In addition to the driver’s license and social security card copies sent to Experian, Plaintiff

attached a legible current copy of Plaintiff"s AT&T bill as requested. See EXhibit 6 attached.

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l stated, “Thank you for requesting your credit file, commonly called a Consumer Credit File .

In addition to the driver’s license and social security card copies sent to Trans Union,
Plaintiff attached a legible current copy of Plaintiff’s Dish Network bill as requested. See
EXhibit 7 attached

Both utility bills indicated the same address as the one shown on Plaintiff’ s current North
Carolina driver’s license All copies of documents sent to Experian and Trans Union were
clearly legible

At no time did Plaintiff make any request for a credit report/disclosure or credit file

‘from the Defendants but instead was very specific in requesting a full consumer file

disclosure pursuant to 15 U.S.C. § 1681g(a)(1) as outlined in the initial request. [Exhibit 1]
In response to Plaintiff’ s second request for a full consumer file disclosure to Experian she
received nothing, which was not responsive to her request as required by 15 U.S.C. §

1681 g(a)(l). Experian simply chose not to respond to the second request which had ample,
legible proofs of identity and address attached including Plaintiff’s current AT&T bill.
Instead Plaintiff received no further communication from Experian.

In response to Plaintiff s second request for a full consumer file disclosure to Equifax she
received another document titled “EQUIFAX-CREDIT FILE”, dated October 26, 2017. The
document contained nothing but her current and previous addresses Which was not 7
responsive to her request for a full consumer file disclosure as required by 15 U.S.C. §
1681g(a)(1). The cover sheet of the report was titled “EQUIFAX-CREDIT FILE” which
Plaintiff at no time requested any “credit report” or “credit file”. The letter also contained a
“Research Request Form” for the purpose of filing any dispute and instructed that it be

mailed to EquifaX lnformation Services LLC. Plaintiff requested a full consumer file

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l ` 7 in clearly legible form and in compliance with 15 U.S.C. § 1681h.

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disclosure to include ALL information in her file at Equifax as of the date the letter was
received to include any archived or obsolete information as permitted by the FCRA. This
would include ANY information in Defendant’s possession Which would pertain not only to
Plaintiff s credit worthiness, credit standing and credit capacity but also general reputation,
personal characteristics, or mode of living. [15 U.S.C. § 1681a].

None of the Defendants in this case ever responded to Plaintiff’ s letters by stating that ANY
of the proofs of identity and address mailed to them were illegible or otherwise unreadable.
ln response to Plaintiffs second request for a full consumer file disclosure to Trans Union
she received a duplicate of tlie letter and form sent in response to her first request which was
not responsive to her request as required by 15 U.S.C. § 1681g(a)(1). [Exhibit 8] Plaintiff
had complied with Trans Union’s request for further proofs of identity and/or address by
including a copy of her current Dish Network bill with copies of her current North Carolina
driver’s license and social security card all of Which were clearly legible with her second
letter of request for her full consumer file disclosure

All documents provided to Defendants in relation to identity and location information Were

In each case with each Defendant there was only communication in the form of letters
requesting Plaintiff’s full consumer file disclosure and response(s) by each Defendant with
no other party involved in the communications between the parties other than the United'
States Postal Service (USPS) which transported documents between them.

Plaintiff was well aware of the hack of the EquifaX database and had reason to believe that
more information than she had ever received in a conventional credit report in the past had

been stolen just from the widespread publicity surrounding the hack and her study of the

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consumer protection statutes including the FCRA. She had been studying the FCRA prior to
the hack and already realized there was substantial information that companies like Equifax,
Experian and Trans Union had in their file(s) about consumers than had been included in any
conventional credit report she had received previously. Plaintiff had no direct knowledge of
specific information regarding herself that might be in Defendants’ file(s). That information,
if it existed, could only be obtained through requesting a full consumer file disclosure

pursuant to 15 U.S.C. § 1681 g(a)(l) rather than asking for a conventional credit report as she

` had in the past either through annualcreditreport.com or directly from the Defendants.

Plaintiff requested and received a iiill consumer file disclosure from LexisNexis comprised
of 123 pages comprising 10 separate consumer reports of information including information
apparently sourced from Experian and Equifax with substantial information sourced from
Equifax being blatantly erroneous. This gives Plaintiff reason to believe there is additional
consumer information related to Plaintiff that EquifaX is disseminating that is wholly false
and misleading

Plaintiff did NOT request a credit report, credit disclosure, or anything else using the words
“credit” or “report” in any manner from any Defendant at any time related to this lawsuit but
instead made a request for her full consumer file disclosure and nothing else.

Upon information and belief there is substantial information relating to the Plaintiff that is
contained in all Defendants’ files that has not been disclosed to her including, but not limited
to, information that was previously shown in her credit reports that is now archived and
additional information that is provided to prospective creditors, insurers or employers who

request information on Plaintiff that she has never seen or has been made aware of.

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42. Upon information and belief the information that is not disclosed to Plaintiff may contain
negative codes or erroneous account information, among other things that is provided to
prospective creditors, insurers or employers which directly affect how that prospective
creditor, insurer or employer would view the Plaintiff in terms of granting credit, rating
insurance policies, providing employment or even providing housing.

43. This undisclosed information has never been provided to Plaintiff even When it was
requested so she could examine it for accuracy and dispute it if necessary lt could be
blatantly false or at the least misleading and without disclosure by the Defendants Plaintiff
Would not have the opportunity to dispute the accuracy or veracityof the information in
Defendant’s files which she is legally entitled to do under the FCRA. Disclosure of false or
misleading information to prospective creditors, insurers or employers that Plaintiff knows
nothing about could paint her in a false light where she could be denied credit, housing,.
employment or pay higher interest rates on credit if it Was granted and higher premiums for
insurance harming her substantially./

44. Upon information and belief Defendants have far more information relating to Plaintiff in
their file(s) and database(s) including archived information that Plaintiff has never had access
to or had the opportunity to review for accuracy that is provided to others when they make a
request for consumer information related to her. This information has been properly
requested by Plaintiff multiple times and is required to be disclosed under 15 U.S.C. §

1681 g(a)(l) when a proper request is made by a consumer. The Defendants have repeatedly
refused to provide Plaintiff with her full consumer file disclosure after multiple requests.
Plaintiff’s requests wereivery specific in nature so as not to be misconstrued as a request for

her credit report by Defendants.

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Plaintiff never made any request of Defendants that used the words “credit” or “report” in
any manner or context but made a straightforward and very clear request ONLY for a full
consumer file disclosure [Exhibits 1,2] to which she is entitled under 15 U.S.C. §
1681g(a)(1) and all Defendants failed to provide her full consumer file disclosure as
required by the FCRA.

Plaintiff clearly is not making any claim regarding information that HAS been provided to a
third party that she is aware of. The sole issue in this lawsuit revolves around the fact that she
has not had access to ALL information in her full consumer file that may have been at some
time in the past provided to an unknown third party or MIGHT be provided at some time in
the future to a third party and she is entitled to have access to by law to review for accuracy.
Plaintiff made no requests for information such as credit scores, default dates, predictors or
other ancillary information related to how the Defendants hold and/or manage the consumer
information they have in their file(s) on individual consumers The ONLY information
requested by Plaintiff was a full consumer file disclosure of information directly related to
her as a consumer that affects her credit worthiness, credit standing and credit capacity but
also general reputation, personal characteristics, or mode of living among other things.'
Because Plaintiff has not had access to that undisclosed information she has therefore had no
opportunity to review it and dispute the accuracy of it if it is found to be false yet it is
provided to potential creditors, housing providers, insurers and employers without her
knowledge and purposely and illegally concealed from her.

Upon information and belief when a report is provided by the Defendants to `a potential
creditor, insurer or employer that information is provided in an encrypted format with

instructions to the user that the consumer is NOT to be shown that information There is no

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prohibition in the law that information obtained by a user can be provided to the consumer if
a request for it is made by the consumer yet instructions from the Defendants are to the
contrary. Why?

One can only surmise that there must be some nefarious reason why information should not
be provided to the consumer that is sent to the user in an encrypted format with instructions
to the user to conceal it from the consumer. A reasonable assumption would be_that it
contains information that the consumer has never seen and the consumer reporting agencies
don’t want the consumer to see for some unknown reason. This is obviously not in concert
with the mandate of full disclosure clearly articulated in the FCRA in unambiguous plain
language

Plaintiff made multiple specific Written requests of each of the Defendants for a full
consumer file disclosure to which she is entitled as clearly stated in 15 U.S.C. § 1681 g(a)(l)
and all Defendants have failed to provide heir full consumer file disclosure to Plaintiff and
are therefore in violation of the FCRA.

The claims made in this lawsuit are in NO manner related to the data breach that occurred
With Equifax. The claims herein are entirely focused on the very simple premise that all
Defendants failed to provide a full consumer file disclosure of all information in their files
to Plaintiff upon her multiple requests as required by 15 U.S.C. § 1681 g(a)(l). There is no '
relation of any claims made herein to any issues with the EquifaX data breach.

The actions of all Defendants occurred within the past 2 years and are within the Statute of
Limitations under the FCRA.

COUNT I

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VIOLATION OF THE FAIR CREDIT REPORTING ACT, 15 U.S.C. §1681, WILLFUL
NON-COMPLIANCE BY DEFENDANI`I£)C(l’ERIAN INFORMATION SOLUTIONS

54. Paragraphs 1 through 53 are re-alleged as though fully set forth herein.

55. Plaintiff is a consumer within the meaning of the FCRA, 15 U.S.C. § 1681a(c).

56. Experian operates as a consumer reporting agency within the meaning of the FCRA, 15
U.S.C. § 1681a(f).

57. Experian repeatedly failed to comply with Plaintiff s multiple requests for a full consumer
file disclosure pursuant to 15 U.S.C. § 1681g(a)(1).

WHEREFORE, Plaintiff demands judgment for damages against Experian for statutory

damages of $1000.00, any attorney’s fees, and all costs pursuant to 15 U.S.C. § 1681n.

COUNT II
VIOLATION OF THE FAIR CREDlT REPORTING ACT, 15 U.S.C. §1681.
WILLFUL NON-COMPLIANCE BY DEFENDANT TRANS UNION LLC
58. Paragraphs 1 through 53 are re-alleged as though fully set forth herein.
59. Plaintiff is a consumer Within the meaning of the FCRA, 15 U.S.C. § 1681a(c).
60. Trans Union operates as a consumer reporting agency within the meaning of the FCRA, 15
U.S.C. § 1681a(f).
61. Trans Union repeatedly failed to comply with Plaintiff’s multiple requests for a full
consumer file disclosure pursuant to 15 U.S.C. § 1681g(a)(1).
WHEREFORE, Plaintiff demands judgment for damages against Trans Union for
statutory damages of $1000.00, any attorney’s fees, and all costs pursuant to 15 U.S.C. §

1681n.

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COUNT 111 '
VIOLATlON OF THE FAIR CREDIT REPORTING ACT, 15 U.S.C. §1681,
WILLFUL NON-COMPLIANCE BY DEFENDANTS EQUIFAX, INC.
AND EOUIFAX INFORMATION SERVICES, LLC
62. Paragraphs 1 through 53 are re-alleged as though fully set forth herein.
63. Plaintiff is a consumer within the meaning of the FCRA, 15 U.S.C. § 1681a(c). \
64. EquifaX and its alter ego Equifax lnformation Services, LLC operate as a consumer reporting
agency within the meaning of the FCRA, 15 U.S.C. § 1681a(f).
65. Equifax and EquifaX lnformation Services, LLC repeatedly failed to comply with Plaintiff’s
multiple requests for a full consumer file disclosure pursuant to 15 U.S.C. § 1681g(a)(1).
WHEREFORE, Plaintiff demands judgment for damages against Equifax, Inc. and

EquifaX Information Services, LLC for statutory damages of $1000.00, any attorney’s fees,

and all costs pursuant to 15`U.S.C. § 1681n.

DEMAND FOR TRIAL BY JURY

Plaintiff hereby demands a trial by jury of all issues so triable as a matter of laW.

Dated: March 14, 2018

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19 Mossy Creek Trail
l\/lurphy, North Carolina 28906
828-494-2007

 

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